 Case 2:16-cr-00126-SAB          ECF No. 142       filed 06/30/20     PageID.825 Page 1 of 4


                                                                                                FILED IN THE
                          UNITED STATES DISTRICT COURT                                      U.S. DISTRICT COURT
                                                                                      EASTERN DISTRICT OF WASHINGTON
                     FOR THE EASTERN DISTRICT OF WASHINGTON
                                                                                       Jun 30, 2020
 UNITED STATES OF AMERICA                                                                  SEAN F. MCAVOY, CLERK




                                                          Case No. 2:16-CR-00126-SAB-1
 v.
                                                          ORDER ON MOTION FOR
                                                          SENTENCE REDUCTION UNDER
                                                          18 U.S.C. § 3582(c)(1)(A)
 GLORIA L. TUCKER
                                                          (COMPASSIONATE RELEASE)




       Upon motion of ☐ the defendant ☐ the Director of the Bureau of Prisons for a reduction

in sentence under 18 U.S.C. § 3582(c)(1)(A), and after considering the applicable factors

provided in 18 U.S.C. § 3553(a) and the applicable policy statements issued by the Sentencing

Commission,

IT IS ORDERED that the motion is:

☐ GRANTED

       ☐ The defendant’s previously imposed sentence of imprisonment of 82 months is

reduced to time served. If this sentence is less than the amount of time the defendant already

served, the sentence is reduced to a time served; or

       ☐ Time served.

       If the defendant’s sentence is reduced to time served:

               ☐       This order is stayed for up to fourteen days, for the verification of the

                       defendant’s residence and/or establishment of a release plan, to make

                       appropriate travel arrangements, and to ensure the defendant’s safe
Case 2:16-cr-00126-SAB       ECF No. 142          filed 06/30/20   PageID.826 Page 2 of 4



                   release. The defendant shall be released as soon as a residence is verified,

                   a release plan is established, appropriate travel arrangements are made,

                   and it is safe for the defendant to travel. There shall be no delay in

                   ensuring travel arrangements are made. If more than fourteen days are

                   needed to make appropriate travel arrangements and ensure the

                   defendant’s safe release, the parties shall immediately notify the court and

                   show cause why the stay should be extended; or

           ☐       There being a verified residence and an appropriate release plan in place,

                   this order is stayed for up to fourteen days to make appropriate travel

                   arrangements and to ensure the defendant’s safe release. The defendant

                   shall be released as soon as appropriate travel arrangements are made and

                   it is safe for the defendant to travel. There shall be no delay in ensuring

                   travel arrangements are made. If more than fourteen days are needed to

                   make appropriate travel arrangements and ensure the defendant’s safe

                   release, then the parties shall immediately notify the court and show cause

                   why the stay should be extended.

    ☐ The defendant must provide the complete address where the defendant will reside

    upon release to the probation office in the district where they will be released because it

    was not included in the motion for sentence reduction.

    ☐ Under 18 U.S.C. § 3582(c)(1)(A), the defendant is ordered to serve a “special term” of

    ☐ probation or ☐ supervised release of ___ months (not to exceed the unserved portion

    of the original term of imprisonment).




                                              2
 Case 2:16-cr-00126-SAB          ECF No. 142         filed 06/30/20   PageID.827 Page 3 of 4



               ☐ The defendant’s previously imposed conditions of supervised release apply to

               the “special term” of supervision; or

               ☐ The conditions of the “special term” of supervision are as follows:

               _______________________________________________________________________________

               __________________________________________________________________

               __________________________________________________________________

               __________________________________________________________________

       ☐ The defendant’s previously imposed conditions of supervised release are unchanged.

       ☐ The defendant’s previously imposed conditions of supervised release are modified as

       follows:

Five years of supervised release, the first year of which to be spent in home confinement,
with or without electronic monitoring at the direction of U.S. Probation.




☐ DEFERRED pending supplemental briefing and/or a hearing. The court DIRECTS the United

States Attorney to file a response on or before _________________, along with all Bureau of

Prisons records (medical, institutional, administrative) relevant to this motion.

☐ DENIED after complete review of the motion on the merits.

       ☐ FACTORS CONSIDERED (Optional)




                                                 3
 Case 2:16-cr-00126-SAB         ECF No. 142         filed 06/30/20   PageID.828 Page 4 of 4




☐ DENIED WITHOUT PREJUDICE because the defendant has not exhausted all administrative

remedies as required in 18 U.S.C. § 3582(c)(1)(A), nor have 30 days lapsed since receipt of the

defendant’s request by the warden of the defendant’s facility.

IT IS SO ORDERED.

Dated:   June 30, 2020




                                                      UNITED STATES DISTRICT JUDGE




                                                4
